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FoR THE WL-'.sTERN DlsTRlcT oF TENNESSEE

 

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uNlTED sTATEs oF AMERch, §§ ;}r_u;' ?js§§p&;i§
P|aintiff,
"5' cr. No. 04-20131-B

RONN|E PERK|NS,

Defendant.

 

ORDER GRANT|NG DEFENDANT’S MOT|ON
TO CONT|NUE SENTENC|NG HEAR|NG

 

For good cause, the Court hereby GRANTS defendants motion to continue and

reset the sentencing hearing in this matter currently set for Tuesday, June 7, 2005. The

sentencing hearing is hereby RESET for:w_'_d_“a_@‘_@m_[_[!@@ gm .

¢{L __._-.
it is so oRDERED, this the L, day or _J »WL_ ,2005.

M

UN|EL BREEN \
@d States District Court Judge

 

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Th‘ss doct.ment entered on the docket sheet tn compliance
with Ruie 55 andfor 321bt FFiCrP on

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UNITED sTATE DISTRICT COURT - WESTER D'S'TRCT 0 TESSEE

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Honorable .1. Breen
US DISTRICT COURT

